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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-cv-01945-WJM-SKC

   TYLER SANCHEZ,

         Plaintiff,

   v.

   MIKE DUFFY, Detective, in his individual capacity, and
   HEATHER MYKES, Detective, in her individual capacity,

         Defendants.


                                     FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and

   pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         This matter was tried on November 26, 2018 through November 30, 2018 and

   December 3, 2018 through December 7, 2018, before an empaneled jury of eight,

   Judge William J. Martínez presiding.

         After the Plaintiff rested, and hearing the arguments and statements of counsel,

   the Court denied Defendants’ oral motion for judgment as a matter of law pursuant to

   Fed. R. Civ. P. 50. The Court granted Plaintiff’s oral motion for judgment as a matter of

   law pursuant to Fed. R. Civ. P. 50 as to the favorable termination element.

         The case was submitted to the jury on December 6, 2018 on Plaintiff’s claim of

   Malicious Prosecution in Violation of the Fourth Amendment and Fourteenth
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   Amendment Procedural Due Process under 42 U.S.C. § 1983, specifically the elements

   of causation, lack of probable cause, malice, and damages. The jury rendered its

   unanimous verdict.

          Pursuant to and in accordance with the jury’s verdict for the Defendants, it is

          ORDERED that final judgment is hereby entered in favor of Defendants Mike

   Duffy and Heather Mykes and against Plaintiff Tyler Sanchez. It is

          FURTHER ORDERED that Defendants Mike Duffy and Heather Mykes shall

   have their costs by the filing of a Bill of Costs with the Clerk of this Court within fourteen

   days of the entry of judgment, pursuant to Fed. R. Civ. P. 54(d)(1) and

   D.C.COLO.LCivR 54.1. It is

          FURTHER ORDERED that Plaintiff’s Second Amended Complaint and this civil

   action are DISMISSED WITH PREJUDICE.

          DATED at Denver, Colorado this        10th   day of December, 2018.

                                              FOR THE COURT:

                                              JEFFREY P. COLWELL, CLERK

                                              By: s/Emily Buchanan
                                              Emily Buchanan, Deputy Clerk
